           Case 2:07-cr-00249-TLN Document 131 Filed 07/19/10 Page 1 of 2


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 5
 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )         Case No. 2:07-cr-0249 LKK
                                   )
11                  Plaintiff,     )          AMENDED STIPULATION AND ORDER
                                   )                    CONTINUING
12        v.                       )            JUDGMENT AND SENTENCE FOR
                                   )             DEFENDANT DAVID GUERRERO
13   DAVID GUERRERO, et al.,       )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        Plaintiff, United States of America, by and through its
17   counsel, Assistant United States Attorney Jason Hitt, and
18   defendant David GUERRERO, by and through his counsel, Shari Rusk,
19   Esq., hereby stipulate and agree that the currently-set judgment
20   and sentencing date of July 20, 2010, at 9:15 a.m. should be
21   continued to August 31, 2010, at 9:15 a.m.
22
23   DATED: July 19, 2010                   /s/Jason Hitt
                                            JASON HITT
24                                          Assistant U.S. Attorney
25
26   DATED: July 19, 2010                   /s/Jason Hitt for Ms. Rusk
                                            Authorized to sign for Ms.
27                                          Rusk on 07-19-10
                                            SHARI RUSK, Esq.
28                                          Counsel for GUERRERO
           Case 2:07-cr-00249-TLN Document 131 Filed 07/19/10 Page 2 of 2


 1   _______________________________________________________________
 2                                     ORDER
 3        Based upon the representations by counsel and the
 4   stipulation of the parties, IT IS HEREBY ORDERED that the
 5   judgement and sentencing date of July 20 2010, at 9:15 a.m., is
 6   CONTINUED to August 31, 2010, at 9:15 a.m.
 7
 8        IT IS SO ORDERED.
 9
10   DATE: July 19, 2010
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